Case 1:20-cr-O0466-UNA Document 21 Filed 12/01/20 Page 1of4

FILED IN OPEN COURT

U.S.D.C. - Atlanta
DEC 0 1 2020
f JAMES N. HATTEN, Clerk
2
IN THE UNITED STATES DISTRICT COURT Depuly Clerk
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

UNITED STATES OF AMERICA

Criminal Indictment

No. 2° 20CR-466

VU.

RICHARD TYLER HUNSINGER

THE GRAND JURY CHARGES THAT:

Count One

On or about July 25, 2020, in the Northern District of Georgia, defendant,
RICHARD TYLER HUNSINGER, and others known and unknown to the Grand
Jury, aided and abetted by one another, did maliciously damage, and attempt to
damage, by means of fire, a building, vehicle, and other personal and real
property, in whole or in part owned or possessed by, and leased to, the United
States, and a department and agency thereof, and while engaging in this conduct
and a result of such conduct, directly and proximately, created a substantial risk
of injury to a person, including a public safety officer performing duties, in
violation of Title 18, United States Code, Sections 844(f)(1) and 844(f)(2), and
Section 2.

Count Two

On or about July 25, 2020, in the Northern District of Georgia, defendant,
RICHARD TYLER HUNSINGER, and others known and unknown to the Grand
Jury, aided and abetted by one another, knowingly did forcibly assault, resist,

oppose, impede, intimidate, and interfere with a federal officer, that is, Federal
Case 1:20-cr-O0466-UNA Document 21 Filed 12/01/20 Page 2 of 4

Protective Service Inspector “K.C.,” by means of a dangerous weapon, including
fire and improvised explosive devices, while he was engaged in and on account
of the performance of his official duties, in violation of Title 18, United States
Code, Sections 111(a)(1) and (b), and Section 2.
Count Three

On or about July 25, 2020, in the Northern District of Georgia, defendant,
RICHARD TYLER HUNSINGER, and others known and unknown to the Grand
Jury, aided and abetted by one another, did willfully injure and commit a
depredation against property of the United States, and a department and agency
thereof, in violation of Title 18, United States Code, Section 1361, and Section 2.

Forfeiture

Upon conviction of the offense alleged in Count One of this Indictment, the
defendant, RICHARD TYLER HUNSINGER, shall forfeit to the United States of
America, pursuant to Title 18, United States Code, Section 982(a)(2)(B), any
property constituting, or derived from, proceeds obtained, directly or indirectly,
as a result of such violation, including, but not limited to, a money judgment,
that is, a sum of money in United States currency representing the amount of
proceeds obtained as a result of said offense, and pursuant to Title 18, United
States Code, Section 844(c) and Title 28, United States Code, Section 2461(c), any
explosive materials involved or used or intended to be used in the violation.

Upon conviction of the offense alleged in Count Three of this Indictment, the
defendant, RICHARD TYLER HUNSINGER, shall forfeit to the United States of

America, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title

2
Case 1:20-cr-O0466-UNA Document 21 Filed 12/01/20 Page 3 of 4

28, United States Code, Section 2461(c), any property, real or personal, which
constitutes, or is derived from, proceeds traceable to said violation, including,
but not limited to, a money judgment, that is, a sum of money in United States
currency representing the amount of proceeds obtained as a result of said
offense.
If, any of the property described above, as a result of any act or omission of

the defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be divided

without difficulty;

the United States intends, pursuant to Title 21, United States Code, Section
853(p), as incorporated by Title 18, United States Code, Section 982(b) and Title
28, United States Code, Section 2461(c), to seek forfeiture of any other property of
Case 1:20-cr-O0466-UNA Document 21 Filed 12/01/20 Page 4 of 4

said defendant up to the value of the above forfeitable property.

BYUNG J. PAK
United States Attorney

KA. Buchanan

RYAN K. BUCHANAN
Assistant United States Attorney
Georgia Bar No. 623388

ott C-__

MATTHEW S. CARRICO
Assistant United States Attorney

Georgia Bar No. 538608

600 U.S. Courthouse
75 Ted Turner Drive SW

Atlanta, GA 30303
404-581-6000; Fax: 404-581-6181

i)
Aa Te VC BILL

 

 

) )
LIM ALY
